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11                                UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
13   Aberin et al. v. American Honda Motor Co., Inc.   No. 3:16-cv-04384-JST
14                                                     NOTICE OF VOLUNTARY
                                                       DISMISSAL FOR PLAINTIFF
15                                                     DANIEL CRINER
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 1          TO THE COURT, DEFENDANT AMERICAN HONDA MOTOR CO., INC., AND
 2   COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE that Plaintiff Daniel Criner hereby voluntarily dismisses his
 4   claims against Defendant American Honda Motor Co. Inc., without prejudice, under Rule

 5   41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Defendant American Honda Motor Co. has

 6   neither filed an answer, nor moved for summary judgment, and a class has not yet been certified.

 7   Therefore, Plaintiff Criner’s claims may be dismissed without prejudice, and without a court order.

 8

 9   DATED: April 25, 2018                               SEEGER WEISS LLP

10
                                                  By: /s/ Christopher A. Seeger
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     NOTICE OF VOLUNTARY
     DISMISSAL OF PLAINTIFF DANIEL CRINER - 1
     Case No.: 3:16-cv-04384-JST
         Case 3:16-cv-04384-JST Document 147 Filed 04/25/18 Page 3 of 3



 1                                       CERTIFICATE OF SERVICE

 2            I, Christopher A. Seeger, hereby certify that on April 25, 2018, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of such

 4   filing to the following:

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17          Attorneys for Defendant American Honda Motor Co. Inc.

18          DATED this 25th day of April, 2018.
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     DISMISSAL OF PLAINTIFF DANIEL CRINER - 2
     Case No.: 3:16-cv-04384-JST
